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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                     )               Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND )
NEXT FRIENDS, M.D. and P.D.          )
                                     )
                      Plaintiffs,    )
v.                                   )
                                     )
NATICK PUBLIC SCHOOL DISTRICT )
and                                  )
BUREAU OF SPECIAL EDUCATION          )
APPEALS,                             )
                                     )
                      Defendants.    )
____________________________________)


      PLAINTIFFS’ MOTION TO FILE MEMORANDUM OF LAW REGARDING
                      SUPPLEMENTAL AUTHORITY

       NOW come the Plaintiffs, M.D. and P.D., individually and on behalf of C.D. (“Parents"),

and hereby move this Honorable Court for leave to file a Memorandum of Law regarding

supplemental authority, of not more than five (5) pages, to address the impact of Endrew F. v.

Douglas Cty. Sch. Dist., 580 U.S. ___, (March 22, 2017) (“Endrew F.”) on the Plaintiff’s case,

and for the Defendants, Natick Public School District (“Natick”) and the Bureau of Special

Education Appeals (“BSEA”) to file a response, of not more than five (5) pages, within fourteen

(14) days thereafter.

       As reasons therefore, the Parents state that Endrew F. is the first case in which the Court

has considered the meaning of a “free appropriate public education,” since Bd. of Educ. of

Hendrick Hudson Sch. Dist. v. Rowley, 458 U.S. 176 (1982). Endrew F.’s interpretation of the

Individuals with Disabilities Education Act (IDEA) applies to all currently pending cases.
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When the Supreme Court “applies a rule of federal law to the parties before it, that rule is the

controlling interpretation of federal law and must be given full retroactive effect in all cases still

open on direct review and as to all events, regardless of whether such events predate or postdate

[the Court’s] announcement of the rule.” Harper v. Va. Dep’t of Taxation, 509 U.S. 86, 97

(1993).

          Counsel for the Bureau of Special Education Appeals has assented to this Motion.

Counsel for the Natick Public School District has not assented to this Motion; however, it is my

understanding that this Motion will not be opposed.

          WHEREFORE, the Plaintiffs, M.D. and P.D., individually and on behalf of C.D, request

leave of court to file a Memorandum of Law regarding supplemental authority, of not more than

five (5) pages, to address the impact of Endrew F. v. Douglas Cty. Sch. Dist., 580 U.S. ___,

(March 22, 2017), on their pending case, and for the Defendants, Natick Public School District

(“Natick”) and the Bureau of Special Education Appeals (“BSEA”) to file a response, of not

more than five (5) pages, within fourteen (14) days thereafter.

DATED this 15th day of May 2017.


                                               Respectfully submitted,

                                               C.D., by and through her PARENTS AND
                                               NEXT FRIENDS, M.D. and P.D.

                                               By their attorney,

                                               /s/ Laurie R. Martucci
                                               Laurie R. Martucci, Esq.
                                               Martucci Law Associates
                                               BBO # 561946
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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

       I hereby certify that I conferred with counsel for the Bureau of Special Education
Appeals and counsel for the Natick Public School District prior to the filing of this Motion.
Counsel for the Bureau of Special Education Appeals has assented to this Motion. Counsel for
the Natick Public School District has not assented to this Motion; however, it is my
understanding that this Motion will not be opposed.

                                                        /s/ Laurie R. Martucci
                                                        Laurie R. Martucci



                                 CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”),
and paper copies will be sent to those indicated as non-registered participants on May 15, 2017.



                                                        /s/ Laurie R. Martucci
                                                        Laurie R. Martucci
